                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                               Case No. 5:17-cv-00593-BO


 ATLANTIC COAST PIPELINE, LLC,

                        Plaintiff,
                                                              NOTICE OF VOLUNTARY
         v.                                                DISMISSAL OF ALL REMAINING
                                                           DEFENDANTS AND PROPERTIES
 7.432 ACRES, MORE OR LESS, IN
                                                               Fed. R. Civ. P. 41(a)(1)(A)(i)
 CUMBERLAND COUNTY, NORTH
                                                                     and 71.1(i)(1)(A)
 CAROLINA et al.,

                        Defendants.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and 71.1(i)(1)(A), plaintiff Atlantic Coast

Pipeline, LLC (“Atlantic”), by and through the undersigned counsel, hereby voluntarily dismisses

without prejudice its claims in this condemnation action as to the following:

       1.      BBC Enterprises, a North Carolina Partnership;

       2.      that certain real property consisting of 21.69 acres, more or less, as is more
               particularly described in that certain deed recorded in Deed Book 5754, Page 822,
               among the land records of Cumberland County, North Carolina, and as further
               identified as Parcel Identification No. 0571-77-6575 (the “Property”).

       Atlantic has acquired the requested easements over the Property from the above-named

defendants by agreement and has paid them just compensation. Thus, the above-named defendants

and the Property no longer need to be parties to this condemnation action.

       WHEREFORE, the above-named defendants and their property may be dismissed without

prejudice, and this action may be dismissed in its entirety.




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This the 21st day of February, 2018.

                                       /s/ Henry L. Kitchin, Jr.
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                                       Counsel for Atlantic Coast Pipeline, LLC




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                                  CERTIFICATE OF SERVICE

       I, Henry L. Kitchin, Jr., of McGuireWoods LLP, certify:

       That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
age; and

        That on this day, I served copies of the foregoing, either by U.S. Mail, postage-prepaid,
or via the Court’s Case Management / Electronic Case Filing (“CM/ECF”) system, on the
following:

       BBC ENTERPRISES, a North Carolina
       Partnership
       243 S. Bragg Blvd.
       Spring Lake, North Carolina 28390

       I certify under penalty of perjury that the foregoing is true and correct.


       This the 21st day of February, 2018.

                                              /s/ Henry L. Kitchin, Jr.
                                              Henry L. Kitchin, Jr.
                                              N.C. State Bar No. 23226
                                              Counsel for Atlantic Coast Pipeline, LLC




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